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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Abigail Ratchford, et al.,                       No. CV-21-01041-PHX-GMS
10                 Plaintiffs,                        ORDER
11   v.
12   Scottsdale Nights LLC,
13                 Defendant.
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16         In light of Plaintiffs having filed a Motion for Default Judgment (Doc. 17),
17         IT IS HEREBY ORDERED discharging the Court’s March 15, 2022 Order to
18   Show Cause (Doc. 16).
19         Dated this 23rd day of March, 2022.
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